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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    CENTRAL DIVISION

                                                   )
 JACKIE SANCHEZ,                                   )
                                                   )             JUDGMENT
                Plaintiff,                         )                 -----
                                                   )      On Rule 68 Offer of Judgment
        vs.                                        )
                                                   )
 BENJAMIN HONE, A Salt Lake City Police            )
 Officer; SALT LAKE CITY, a Political              )           Civil No. 2:17-cv-1257
 Subdivision; and JOHN and JANE DOES 1-10,         )
                                                   )         Judge Dale A. Kimball
                Defendants.                        )      Magistrate Judge Dustin B. Pead
                                                   )
                                                   )


              Based upon the acceptance by Plaintiff of a Rule 68 Offer of Judgment, as

demonstrated by the written Notice of Acceptance received and reviewed by the Clerk,

              JUDGMENT IS HEREBY GRANTED to Plaintiff in the amount of Twenty

Thousand and One Dollars ($20,001.00), plus reasonable attorneys' fees and costs accrued to date.

              A separate motion to the court for the award of costs and attorney fees pursuant to

42 U.S.C. § 1988 will be made by Plaintiff to determine the reasonable attorney fees and costs

accrued through May 11, 2018, which will be determined at a later date.
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    DATED this 29th day of May, 2018.

                               BY THE COURT:




                               U.S. DISTRICT COURT JUDGE
                                                           180525.Proposed Judgment.wpd




                                  2
